                    Case 96-54979          Doc 1263-2         Filed 06/02/10       Page 1 of 1

                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                            at Baltimore

 In Re:                                                      *
 G. Ware Travelstead                                         *     Case No.       96-54979-DK
                                                             *     Chapter        11
                                                             *
                         Debtor(s)                           *
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                                       NOTICE TO REMOVE EXHIBITS
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          Within thirty (30) days after the date of this notice, counsel for each party to the matter described in the
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caption of this notice, and each party appearing pro se, shall remove from the Court’s record in this case all of
the party’s trial and hearing exhibits and all sealed materials. A COPY OF THIS NOTICE MUST BE
                                  ES




PRESENTED WHEN YOU COME TO THE CLERK’S OFFICE TO REMOVE EXHIBITS. If counsel
or a party does not remove the party’s exhibits and sealed exhibits within 30 days, the Clerk may destroy or
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otherwise dispose of them, in the Clerk’s discretion, without further notice. Refer to: Local Bankruptcy Rule
9070-1(b).
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                                                     MARK D. SAMMONS, CLERK
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Date: June 2, 2010                                   By: __________/s/________________
                                                     Deputy Clerk - Victoria G. Harper
      H




cc: Richard D. London, Esquire
EX




Signature of party retrieving exhibits: ________________________      Date: ___________
  If messenger, list law firm : ______________________________        Date: ___________
Signature of deputy clerk returning exhibits: ___________________     Date: ___________
Signature of deputy clerk upon destruction of exhibits__________________________
Date destroyed: ___________

Exh-21.2 - 7/19/05
